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THE SECRETARY OF THE INTERIOR
WASHINGTON

ORDER NO. 3415
Subject: Temporary Suspension of Delegated Authority.

Sec. 1. Purpose. This Order is made for the purpose of implementing a targeted and time-

limited elevation of relevant decisions at the Department of the Interior (Department) for the purpose of
reviewing the questions in fact, law, and policy they raise. This Order ensures that the Department
continues its existing operations-including operations necessary for health, safety, and national security
matters-consistent with all legal obligations and policy goals, to uphold trust and treaty responsibilities to
tribal nations, and to responsibly steward the Nation's public lands, waters, and resources for current and
future generations.

Sec. 2. Authority. This Order is issued under the authority of section 2 of Reorganization Plan No. 3 of
1950 (64 Stat. 1262) and is consistent with 200 DM 1.

Sec. 3. Suspension of Authority. The delegations of authority to Department Bureaus and Offices to take
any of the following actions are hereby temporarily suspended, but the actions may be approved by
leadership identified in section 4. of this Order:

a. To publish, cause to be published, or aid in the publication of any notice in the Federal
Register, including, but not limited to, notices of proposed or final agency action and
actions taken in accordance with the National Environmental Policy Act;

b. To issue, revise, or amend Resource Management Plans under the authority of section
202 of the Federal Land Policy and Management Act, as amended;

c. To grant rights of way, easements, or any conveyances of property or interests in
property, including land sales or exchanges, or any notices
to proceed under previous surface use authorizations that will authorize ground-
disturbing activities;

d. To approve plans of operation, or to amend existing plans of operation under the General
Mining Law of 1872;

e. To issue any final decision with respect to R.S. 2477 claims, including recordable
disclaimers of interest;

f. To appoint, hire, or promote personnel, or approve the appointment of any personnel, but
this does not apply to seasonal hires or emergency work force personnel;

g. To issue any onshore or offshore renewable energy authorization, including but not
limited to a lease, amendment to a lease, right of way, amendment to a right of
way, contract, or any other agreement required to allow for renewable
energy development. This does not limit existing operations under valid leases. It also
does not apply to authorizations necessary to: (1) avoid conditions that might pose a
threat to human health, welfare, or safety; or (2) to avoid adverse impacts to public land
or mineral resources.
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Sec. 4. Implementation. Any and all delegations of authority to take the actions set out in section 3
are temporarily suspended with respect to individuals other than a confirmed or Acting official in the
following positions or a person who has delegated authority pursuant to Secretary’s Order 3414 to
exercise the authority associated with the following positions under current law and regulations:
Secretary

Deputy Secretary

Solicitor

Assistant Secretary - Policy, Management and Budget

Assistant Secretary - Land and Minerals Management

Assistant Secretary - Water and Science

Assistant Secretary for Fish and Wildlife and Parks

Assistant Secretary - Indian Affairs

Assistant Secretary - Insular and International Affairs

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Sec. 5. Expiration Date. This Order is effective immediately and will remain in effect for 60 days, or
until any of its provisions are amended, superseded, or revoked.

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Walter Cruickshank
Acting Secretary of the Interior

Date: January 20, 2025
